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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     Case No. 1:22-cv-24066-KMM
   GRACE, INC., et al.,

          Plaintiﬀs,

   v.

   CITY OF MIAMI,

          Defendant.
                                      /

              PLAINTIFFS’ NOTICE OF FILING ADMITTED TRIAL EXHIBITS
                                (VOLUME III of III)

          Pursuant to Local Rule 5.3(b)(2) and the Court’s Paperless Order Scheduling Trial (ECF

   32), Plaintiﬀs ﬁle the attached exhibits admitted into evidence at trial:s

              Plfs.’
                                                    Description
             Tr. Ex.
               60      Yanelis Valdes State ID
               61      Jared Johnson State ID
               62      Alexandra Contreras Voter Card
               63      Steven Miro Voter Card
               64      1997 Plan
               65      2003 Plan
               66      2013 Plan
               67      2022 Plan
               68      Feb. 7, 2022 Draft
               69      Feb. 22, 2022 Draft/Base Plan
               70      Russell Sketch
               71      Initial Russell Plan
               72      Revised Russell Plan
               73      Reyes Plan
               76      2023 Plan
               77      Version 12
               78      D1 Alt Map (Version 14)
               79      D2 Alt Map
               80      D3 Alt Map v1


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               81     D3 Alt Map v2
               82     D5 Alt Map
               83     Areas Moved from 2022 Plan to 2023 Plan
               84     Map Comparing Version 12 to 2023 Plan
              119     Report of Dr. Bryant Moy
              120     Dr. Bryant Moy’s CV
              121     Report of Dr. Carolyn Abott
              122     Report of Dr. Cory McCartan
              123     March 29, 2023 Preliminary Injunction Hearing Transcript Excerpt

   Respectfully submitted February 2, 2024,

   /s/ Caroline A. McNamara

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